         Case 1:24-cv-01202-VMS Document 6 Filed 02/15/24 Page 1 of 2 PageID #: 10


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                                 for the

                                                     Eastern District of New York


                    DRIP CAPITAL, INC.




                            Plamtiff(s)
                                                                                                 24-cv-1202 VMS
                                V.                                         Civil Action No.

                       LUXICORE INC.




                           Defendant(s)

                                                  SUMMONS IN A CIVIL ACTION


TO: (Defendant's name and address) 98
                                   1;^ Lonmer St. ^'
                                          Brooklyn. NY 11206




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                          SCAROLA ZUBATOV SCHAFFZIN PLLC
                                          620 Fifth Avenue - 2nd Floor
                                          New York, NY 10020
                                          Tel.: (212)757-0007


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT

                                                                                s/Kimberly Davis
         02/15/2024
                                                                                         Signature of Clerk or Deputy Clerk
          Case 1:24-cv-01202-VMS Document 6 Filed 02/15/24 Page 2 of 2 PageID #: 11


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.


                                                           PROOF OF SERVICE

                       (This section should not be filed with the court unless required by Fed, R. Civ, P, 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)

           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or


           □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                             ; or

           □ I returned the summons unexecuted because                                                                               ; or

           O Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address



 Additional information regarding attempted service, etc:
